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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


SOCIETY OF PROFESSIONAL
ENGINEERING EMPLOYEES IN                      CASE NO.   05-1251 MLB
AEROSPACE, IFPTE LOCAL 2001,
AFL-CIO,
                                              COMPLAINT FOR VIOLATIONS OF
       Plaintiff,                             COLLECTIVE BARGAINING
                                              AGREEMENT UNDER 29 U.S.C.
v.                                            §185; FOR INTERFERENCE WITH
                                              EMPLOYEE BENEFITS UNDER
THE BOEING COMPANY, a Delaware                SECTION 510 OF ERISA, 29 U.S.C.
Corporation,                                  §1140; AND FOR DECLARATORY
                                              RELIEF UNDER 28 U.S.C. §2201
       Defendant.
_____________________________________         JURY TRIAL DEMANDED
/

      Plaintiff Society of Professional Engineering Employees in Aerospace,

IFPTE Local 2001, AFL-CIO (hereafter "SPEEA") alleges for its causes of action

against Defendant The Boeing Company, a Delaware corporation (hereafter

"Boeing"), as follows:

                            JURISDICTION AND VENUE

1.    Pursuant to District of Kansas Rule 40.2, SPEEA hereby requests that

trial in this matter be held in Wichita, Kansas.

2.    SPEEA brings this action under Section 301 of the Labor Management

Relations Act of 1947, 29 U.S.C. §185; under Section 510 of the Employee

Retirement Income Security Act of 1974 (ERISA), 29 U.S.C. §1140; and under

the Declaratory Judgment Act, 28 U.S.C. §§2201 et seq., to remedy violations

of a collective bargaining agreement between SPEEA and Boeing, to seek a




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remedy for Boeing's interference with the pension rights of affected employees,

and to declare and establish the rights and responsibilities thereunder.

3.    This Court has jurisdiction under 28 U.S.C. §1331, 29 U.S.C. §185 and

29 U.S.C. §1132(g).

4.    Venue is proper in this Court and in this Division because the agreement

giving rise to many of the claims was negotiated and executed here, because

the actions giving rise to the claim occurred here and because both SPEEA and

Boeing may be found here.

                                   PARTIES
5.    Plaintiff SPEEA is an unincorporated labor organization that represents

for purposes of collective bargaining employees of employers in industries

affecting commerce. SPEEA maintains offices in this District from which it

serves as collective bargaining representative for thousands of employees in

this District.

6.    Defendant Boeing is a Delaware corporation with headquarters in the

State of Illinois. For many years Boeing has transacted significant business in

this District.

                                    FACTS

                      The Collective Bargaining Agreements

7.    SPEEA serves as the collective bargaining representative for two

bargaining units of employees at Boeing's commercial facility in Wichita

(hereafter "the Commercial Facility"). One unit consists of engineers and the

other is a unit of technical and other professional employees. SPEEA and



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Boeing negotiated successive collective bargaining agreements establishing the

terms and conditions of employment for the employees in these two bargaining

units.

8.       In 2003 the parties negotiated a multiyear agreement for the engineers'

unit. A true and correct copy of this agreement – the Engineers Agreement – is

attached as Exhibit A.

9.       In 2004 the parties negotiated a multiyear agreement for the technical

and professional unit. A true and correct copy of this agreement – the WTPU

Agreement – is attached as Exhibit B.

10.      Pursuant to these agreements, SPEEA-represented employees were

entitled, inter alia, to certain health care benefits and certain retirement

pension benefits. The details and contours of these benefits were negotiated

through collective bargaining and established in the respective collective

bargaining agreements.

11.      With respect to pension benefits, the parties agreed that both units of the

SPEEA-represented employees would participate in the Boeing Company

Employee Retirement Plan ("the Pension Plan"). A true and correct copy of the

Summary Plan Description of the Pension Plan is attached as Exhibit C.

12.      The normal retirement age under the Pension Plan is 65. However, the

Pension Plan allows employees to retire at age 55 under certain conditions

(hereafter "the Early Retirement Pension Benefit").

13.      Retirement benefits are paid under one of two formulas, either the

Standard Benefit Formula or the Alternative Benefit Formula (which is



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composed of a “Core Benefit” and an “Excess Benefit”). Employees who elect to

retire under the Early Retirement Pension Benefit receive a monthly pension

benefit that is reduced from its normal amount by between 2% and 5%

(depending on which formula applies) for each year retirement occurs before

age 60. By contrast, an employee who seeks to retire before age 65 -- but who

does not qualify for the Early Retirement Pension Benefit -- can begin receiving

his pension benefit at age 55 but the monthly benefit is reduced by 6% for each

year retirement occurs before age 65 (hereafter “the Deferred Vested Benefit”).

14.   Another provision of the Pension Plan protects employees in the event of

a "layoff." Specifically, employees who lose Boeing employment through "layoff"

may take advantage of the Early Retirement Pension Benefit if they reach age

55 within six years of the termination of their Boeing employment, enabling

them to avoid the higher actuarial penalty that would otherwise apply to the

Deferred Vested Benefit. In the parlance of employee benefits, such employees

are able to "bridge" to the early retirement age.

15.   Ordinarily, once individuals leave Boeing employment, by retirement or

otherwise, they must arrange for their own health care coverage until they

reach age 65 and become eligible for Medicare.

16.   SPEEA and Boeing negotiated a special health-care provision that

accompanies the Early Retirement Pension Benefit. Specifically, if an individual

is eligible for and elects the Early Retirement Pension Benefit, that individual

also qualifies for Boeing-provided health care until he or she becomes eligible

for Medicare (hereafter "the Early Retirement Health Care Benefit").



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17.   The Agreements also provide certain health-care benefits to employees

who lose their Boeing employment through a "layoff." Specifically, the

Agreements provide that SPEEA-represented employees who are eligible and

elect to retire under the "bridging" provision set forth above will also receive

retiree medical insurance until they reach age 65.

      Boeing sells the Commercial Facility and lays off its employees.

18.   In 2004 Boeing announced it was looking to sell the Commercial Facility.

It subsequently found a buyer in Spirit AeroSystems, Inc. ("Spirit").

19.   Spirit does not have and has never had any corporate affiliation or other

such relationship with Boeing.

20.   Boeing and Spirit entered into an Asset Purchase Agreement on or about

February 22, 2005. This agreement provided, inter alia, that Spirit would take

over the ownership and operation of the Commercial Facility from Boeing.

21.   On or about March 2005, Boeing announced to its SPEEA-represented

employees at Wichita that they would be laid off from their Boeing employment

effective May 2005 owing to Boeing's sale of the Commercial Facility.

22.   Spirit announced it planned to continue operating the Commercial

Facility. The employees were informed that, if they wanted to be considered for

a job with Spirit, they were required to submit an application form. Spirit

subsequently reviewed the employees' work records and conducted interviews

with their Boeing managers. Spirit hired some, but not all, of those former

Boeing employees who sought employment with Spirit.

23.   On June 16, 2005, Boeing laid off the majority of SPEEA-represented



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employees at the Commercial Facility. Others were laid off at a later date.

24.    On June 17, Spirit took over the operations of the Commercial Facility.

Those individuals whom Spirit chose to hire started work for Spirit that same

day.

       Boeing refuses to honor its contractual promises and interferes
                  with its former employees' benefit rights.

25.    Approximately 611 SPEEA-represented employees were between 49 and

54 years of age, with at least 10 years of vesting service, on their last day of

employment with Boeing. These individuals had given many years of their life

to Boeing and expected to continue working for Boeing until they retired. Now

that they were about to be abruptly laid off from their Boeing employment, they

looked forward to exercising the special benefits SPEEA had negotiated with

Boeing.

26.    Boeing informed the SPEEA-represented employees, however, that

despite the fact it had involuntarily terminated their collective employment with

Boeing, Boeing would not consider them "laid off" if they did not seek to be

hired by Spirit, if they were offered and accepted employment with Spirit, or if

Spirit offered them employment and they declined it, and thus they would not

qualify for the Early Retirement Pension Benefit or the Early Retirement Health

Care Benefit.

27.    SPEEA has protested this determination on numerous occasions with

Boeing representatives. Boeing has refused to change its position.

28.    The International Association of Machinists attempted to pursue a

protest over the same issues through the grievance-arbitration process, under

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similar language as found in the SPEEA Agreements. Boeing has taken the

position that the subject matter of the grievance is outside the contractual

grievance procedure, and thus rejected efforts to pursue that route. SPEEA

reasonably believes that Boeing will take the same position and refuse to

arbitrate any grievance SPEEA may file over the issues raised in this

Complaint.

            FIRST CLAIM FOR RELIEF: BREACH OF CONTRACTUAL
            PROMISE TO PROVIDE CERTAIN PENSION BENEFITS TO
                LAID-OFF BOEING EMPLOYEES [29 U.S.C. §185]

 29. Boeing agreed, in contracts signed with SPEEA, that laid off employees

 with 10 years of vesting service who reach age 55 within 6 years of their layoff

 from Boeing employment, would qualify for the Early Retirement Pension

 Benefit.

 30. The SPEEA-represented employees at the Commercial Facility were laid

 off as of June 16 when Boeing involuntarily terminated their employment.

 31. By taking the position that the laid-off SPEEA-represented employees

 cannot qualify for the Early Retirement Pension Benefit, Boeing breached its

 contractual promises with SPEEA.

        SECOND CLAIM FOR RELIEF: BREACH OF CONTRACTUAL
         PROMISE TO PROVIDE CERTAIN HEALTH BENEFITS TO
            LAID-OFF BOEING EMPLOYEES [29 U.S.C. §185]

 32. Boeing agreed, in contracts signed with SPEEA, that laid off employees

 with 10 years of vesting service who reach age 55 within 6 years of the

 termination of their Boeing employment would qualify for the Early

 Retirement Health Care Benefit.



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33. The SPEEA-represented employees at the Commercial Facility were "laid

off" as of June 16 when Boeing involuntarily terminated their employment.

34. By taking the position that the laid-off SPEEA-represented employees

cannot qualify for the Early Retirement Health Care Benefit, Boeing breached

its contractual promises with SPEEA.

     THIRD CLAIM FOR RELIEF: UNLAWFUL INTERFERENCE WITH
          EMPLOYEES' PENSION RIGHTS [29 U.S.C. §1140]

35. SPEEA was at all relevant times the collective bargaining representative

for the Boeing employees in the Engineers Unit and the Technical and

Professional Unit at the Commercial Facility. SPEEA brings this claim in a

representative capacity on behalf of those former Boeing employees and thus

it has standing under Section 510 of ERISA, 29 U.S.C. §1140.

36. The SPEEA-represented employees were entitled to the Early Retirement

Pension Benefit if they were laid off. They were in fact laid off when their

Boeing employment was terminated. Despite the fact they were laid off, Boeing

took steps to prevent them from receiving that benefit by, inter alia, declaring

them not to be laid off.

37. Boeing's decision not to treat them as laid off was motivated by a desire

to prevent the SPEEA-represented employees from receiving the Early

Retirement Pension Benefit.

38. Boeing's actions in this regard constitute violations of Section 510 of

ERISA, 29 U.S.C. §1140.

    FOURTH CLAIM FOR RELIEF: UNLAWFUL INTERFERENCE WITH
       EMPLOYEES' HEALTH CARE RIGHTS [29 U.S.C. §1140]



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 39. SPEEA was at all relevant times the collective bargaining representative

 for the Boeing employees in the Engineers Unit and the Technical and

 Professional Unit at the Commercial Facility. SPEEA brings this claim in a

 representative capacity on behalf of those former Boeing employees and thus

 it has standing under Section 510 of ERISA, 29 U.S.C. §1140.

 40. The SPEEA-represented employees were entitled to the Early Retirement

 Health Care Benefit if they were laid off. They were in fact laid off when their

 Boeing employment was terminated. Despite the fact they were laid off, Boeing

 took steps to prevent them from receiving that benefit by, inter alia, declaring

 them not to be laid off.

 41. Boeing's decision not to treat them as laid off was motivated by a desire

 to prevent the SPEEA-represented employees from receiving the Early

 Retirement Health Care Benefit.

 42. Boeing's actions in this regard constitute violations of Section 510 of

 ERISA, 29 U.S.C. §1140.

 FIFTH CLAIM FOR RELIEF: DECLARATORY JUDGMENT AS TO PARTIES'
          RIGHTS AND RESPONSIBILITIES [28 U.S.C. §2201]

43.   As set forth in the preceding paragraphs, Boeing has, by its words and

its actions, taken steps to breach its collective bargaining promises to SPEEA

and to unlawfully interfere with its former employees' right to the Early

Retirement Pension Benefit and the Early Retirement Health Care Benefit.

44.   The SPEEA-represented former Boeing employees who were laid off from

Boeing due to their involuntary termination from Boeing employment on or

about June 16 are entitled to “bridge” the Early Retirement Pension Benefit

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and the Early Retirement Health Care Benefit if they reach age 55 within 6

years of their lay offs.

45.   Plaintiff SPEEA invokes the jurisdiction of this Court to establish and

declare the legal rights and responsibilities of SPEEA, the SPEEA-represented

former employees of Boeing, and Boeing as to the Early Retirement Pension

Benefit and the Early Retirement Health Care Benefit.

                            PRAYER FOR RELIEF

      WHEREFORE, SPEEA prays for judgment as follows:

   1. For an order declaring the rights of the SPEEA-represented employees to

      the Early Retirement Pension Benefit and the Early Retirement Health

      Care Benefit;

   2. For specific performance of Boeing's contractual promises;

   3. For an award of damages to the SPEEA-represented employees in an

      amount to be proved at trial;

   4. For an injunction requiring Boeing to take all steps necessary to allow

      otherwise eligible SPEEA-represented employees to receive the

      aforementioned benefits.

   5. For an award to SPEEA reimbursing it for its expenses, attorneys fees

   and costs herein; and

   6. For such other and further relief as the Court deems just and proper.


Dated: August ___, 2005        Respectfully submitted,



                                 /s/ Scott Brown

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                        DEMAND FOR JURY TRIAL

     SPEEA hereby demands jury trial on all issues herein triable to a jury.

Dated: August 8, 2005        Respectfully submitted,


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